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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

ASHLEY DAWN MARIE
SCHAREDEIN,
        Plaintiff,
v.                                               Case No. CIV-24-952-G

CORECIVIC, INC.,
          Defendants.


                       DEFENDANT CORECIVIC’S ANSWER
                          TO PLAINTIFF’S COMPLAINT



       COMES NOW Defendant CoreCivic, Inc., by and through their attorney of

record, Darrell L. Moore, OBA #6332 submitting its Answer in opposition to the

Plaintiff’s Complaint. Defendant has attempted to respond to each allegation outlined in

Plaintiff’s complaint. However, Plaintiff’s complaint contains no numbered paragraphs.

Defendant therefore states that any allegation inferred from the Complaint, and not

specifically denied herein, is in fact denied and strict proof thereof is demanded.

       Defendant CoreCivic responds and states as follows:

Complaint Page 1 of 6:

                      JURISDICTION, VENUE, AND PARTIES

       1.      Defendant CoreCivic, Inc., admits this Court has jurisdiction over this

matter under 42 U.S.C. 1983 and 42 U.S.C. 1988. Defendant CoreCivic, Inc., denies any

allegations or suggestion of wrongdoing.

       2.      Defendant CoreCivic, Inc., admits Plaintiff Schardein was a detainee in

the custody of the U.S. Marshals Service being housed at Cimarron Correctional Facility




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during all times relevant to her allegations. Defendant CoreCivic, Inc., denies any

allegations or suggestion of wrongdoing.

        3.     Defendant CoreCivic, Inc., admits it owns and operates the Cimarron

Correctional Facility, located in Cushing, Payne County, Oklahoma. Defendant

CoreCivic, Inc., denies any allegations or suggestion of wrongdoing.

        4.     Defendant CoreCivic, Inc., admits Damian Jauregui was employed at

Cimarron Correctional Facility during 2021, 2022, and until his resignation in March

2023. Defendant CoreCivic, Inc., denies any allegations or suggestion of wrongdoing on

its part.

        5.      Defendant CoreCivic, Inc., admits venue is proper.

        6.     Plaintiff’s allegations contained in her OVERVIEW paragraph are denied.

Defendant CoreCivic, Inc., denies any and all allegations or suggestion of wrongdoing on

its part. Plaintiff’s allegations and hyperbole regarding staffing, culture, retaliation, and

violation of constitutional rights are denied.

Complaint Page 2 of 6:

                                           FACTS

        7.     Defendant CoreCivic’s responses in ⁋⁋ 1-6 herein to Plaintiff’s un-

numbered paragraphs are incorporated herein by reference.

        8.     On page 2 of the complaint, Plaintiff has presented in unnumbered

paragraphs a narrative of her purported actions and of purported actions attributed to

Damian Jauregui. Defendant CoreCivic, Inc., lacks knowledge or information sufficient

to form a belief about the truth of any allegations by Plaintiff made on page 2 and




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therefore those allegations are denied. Defendant CoreCivic, Inc., denies any allegations

or suggestion of wrongdoing on its part.

Complaint Page 3 of 6:

       9.      Defendant CoreCivic’s responses in ⁋⁋ 1-8 herein to Plaintiff’s un-

numbered paragraphs are incorporated herein by reference.

       10.     On page 3 of the complaint, Plaintiff has presented in unnumbered

paragraphs a narrative of her purported actions and of purported actions attributed to

Damian Jauregui. Defendant CoreCivic, Inc., lacks knowledge or information sufficient

to form a belief about the truth of any allegations made on page 3 and therefore those

allegations are denied. Defendant CoreCivic, Inc., denies any allegations or suggestion of

wrongdoing on its part.

Complaint Page 4 of 6:

       11.     Defendant CoreCivic’s responses in ⁋⁋ 1-10 herein to Plaintiff’s un-

numbered paragraphs are incorporated herein by reference.

       12.     On page 4 of the complaint, Plaintiff has presented in unnumbered

paragraphs a narrative of her purported actions and of purported actions attributed to

Damian Jauregui. Defendant CoreCivic, Inc., lacks knowledge or information sufficient

to form a belief about the truth of any allegations made on page 4 and therefore those

allegations are denied. Defendant CoreCivic, Inc., denies any allegations or suggestion of

wrongdoing on its part.

Complaint Page 5 of 6:

       13.     Defendant CoreCivic’s responses in ⁋⁋ 1-12 herein to Plaintiff’s un-

numbered paragraphs are incorporated herein by reference.




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       14.     On page 5 of the complaint, Plaintiff has again presented in unnumbered

paragraphs a narrative of her purported actions and of purported actions attributed to

Damian Jauregui. Defendant CoreCivic, Inc., lacks knowledge or information sufficient

to form a belief about the truth of any allegations made on page 5 of the purported actions

of Plaintiff and Jauregui and therefore those allegations are denied. Defendant CoreCivic,

Inc., denies any allegations or suggestion of wrongdoing on its part. Defendant

CoreCivic, Inc., admits Plaintiff met with Captain Christian in March 2023. Defendant

CoreCivic, Inc., denies any allegation of retaliation. Defendant CoreCivic, Inc., denies

any allegations or suggestion of wrongdoing on its part.

Plaintiff’s Claim 1:

       14.     Defendant CoreCivic’s responses in ⁋⁋ 1-13 herein to Plaintiff’s

unnumbered paragraphs are incorporated herein by reference.

       15.     Defendant admits the Eighth Amendment “imposes duties on [prison]

officials, who must provide humane conditions of confinement; prison officials must

ensure that inmates receive adequate food, clothing, shelter, and medical care, and must

‘take reasonable measures to guarantee the safety of the inmates[.]’” See Farmer v.

Brennan, 511 U.S. 825,832 (1994). Any allegation by Plaintiff that Defendant CoreCivic

did not comply with the law is denied. Plaintiff’s allegations are conclusory and lack

sufficient supporting factual averments; as a result, they fail to state a claim upon which

relief can be based. See Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). To state

a claim in federal court, a complaint must explain what Defendant did to the Plaintiff,

when the Defendant did it, how the Defendant’s action harmed the Plaintiff, and what

specific legal right the Plaintiff believes the Defendant violated. See Nasious v. Two




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Unknown B.I.C.E Agents, 492 F.3d 1158, 1163 (10th Cir. 2007). Any allegations in

Plaintiff’s Claim 1 of wrongdoing on part of Defendant CoreCivic are denied.

Complaint Page 6 of 6:

Plaintiff’s Claim 2.

          16.   Defendant CoreCivic’s responses in ⁋⁋ 1-15 herein to Plaintiff’s

unnumbered paragraphs are incorporated herein by reference.

          17.   Any allegation by Plaintiff that Defendant CoreCivic did not comply with

the law is denied. Plaintiff’s allegations are conclusory and lack sufficient supporting

factual averments; as a result, they fail to state a claim upon which relief can be based.

Any allegations in Plaintiff’s Claim 2 of wrongdoing on part of Defendant CoreCivic are

denied.

Conclusion.

          18.   Defendant CoreCivic’s responses in ⁋⁋ 1-17 herein to Plaintiff’s unnumbered

paragraphs are incorporated herein by reference. Plaintiff’s allegations and hyperbole lack

factual pleadings sufficient to establish any plausible claims against Defendant CoreCivic.

Plaintiff’s allegations of wrongdoing are denied. Defendant denies Plaintiff is entitled to any

relief of any kind, monetary or otherwise.

          WHEREFORE, Defendant respectfully prays the Court enter its order of judgment in

favor of Defendant CoreCivic, Inc., and against the Plaintiff.

                                 AFFIRMATIVE DEFENSES

          As separate affirmative defenses to the averments contained in the Plaintiff’s

complaint, Defendant states as follows:




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       1.      As a separate and alternative affirmative defense, Defendant asserts

Plaintiff has failed to state a claim or claims upon which relief could be granted against

these answering Defendants. To state a claim in federal court, a complaint must explain

what Defendants did to the Plaintiff, when the Defendants did it, how the Defendants’

action harmed the Plaintiff, and what specific legal right the Plaintiff believes the

Defendants violated. See Nasious v. Two Unknown B.I.C.E Agents, 492 F.3d 1158,

1163 (10th Cir. 2007). Plaintiff has failed to plausibly plead that Defendants, by virtue of

their own conduct and state of mind, violated the Constitution. See Dodds v. Richardson,

614 F.3d 1185, 1198 (10th Cir. 2010).

       2.      As a separate and alternative affirmative defense, Defendants assert the

alleged actions of Defendants, which are specifically denied, were not the direct, legal,

proximate cause of Plaintiff’s alleged injuries and damages.

       3.      Plaintiff failed to first properly exhaust administrative remedies as to her

claims before bringing this action to the District Court. Pursuant to 42 USC §1997e(a),

exhaustion of administrative remedies is mandatory by prisoners and must precede an

inmate’s resort to the courts.

       4.      As a separate and alternative affirmative defense, Defendant asserts that the

Plaintiff’s alleged injuries, if any, were proximately caused by an independent intervening

cause for which Defendant is not liable.

       5.      As a separate and alternative affirmative defense, Defendants assert that at all

times material to Plaintiff’s Complaint, Defendants acted in good faith and in a reasonable

manner given the information and circumstances existing at the time.




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          6.    As a separate and alternative affirmative defense, Defendant asserts that

they did not violate the constitutional rights of Plaintiff.

          7.    As a separate and alternative affirmative defense, Defendant asserts they

did not breach any legal duty owed to Plaintiff.

          8.    As a separate and alternative affirmative defense, the Defendant’s

judgment in connection with the safety and security of Plaintiff was objectively

reasonable and did not violate clearly established law.

          9.    As a separate and alternative affirmative defense, Defendant CoreCivic’s

conduct did not evince a reckless disregard for Plaintiff’s safety, health, or welfare.

          10.   As a separate and alternative affirmative defense, CoreCivic’s employees

were supervised and controlled in a manner that was constitutional, proper, and sufficient

under state and federal law.

          11.   As a separate and alternative affirmative defense, no policy or custom of

Defendant CoreCivic caused or contributed to a violation of any of Plaintiff’s constitutional

rights.

          12.   As a separate and alternative affirmative defense, Defendant asserts that they

were not on actual or constructive notice of a substantial or unreasonable risk of harm to

Plaintiff.

          13.   As a separate and alternative affirmative defense, Defendant asserts that they

did not act with deliberate indifference to Plaintiff’s health, safety, or medical needs.

          14.   As a separate and alternative affirmative defense, Defendant asserts that

Defendant CoreCivic was not on actual or constructive notice, nor should Defendant have




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reasonably foreseen, an alleged harm to Plaintiff, such that Defendant CoreCivic had a duty

to foresee and prevent the alleged harm to Plaintiff.

       15.     As a separate and alternative affirmative defense, Defendant states they intend

to rely upon other defenses as may become apparent or available during discovery

proceedings or which may be raised by separate motion as permitted by the Rules of Civil

Procedure.

                                      CONCLUSION

       WHEREFORE, Defendant prays the Court enter its order of judgment in favor of

Defendant CoreCivic and against the Plaintiff; that the Court dismiss the Plaintiff’s

allegations as set forth above; that the Plaintiff take nothing by way of her Complaint

filed herein; and, that the Defendant be awarded their attorney fees and costs for defense

of this action and receive any and all other appropriate relief.



                                                   Respectfully submitted,
                                                   CoreCivic, Inc., Defendant




                                                   By:
                                                   DARRELL L. MOORE, OBA 6332
                                                   P.O. Box 368
                                                   Pryor, OK 74362
                                                   (918) 825-0332
                                                   (918) 825-7730 fax
                                                   darrellmoore@jralphmoorepc.com
                                                   Attorney for Defendant CoreCivic




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                                 Certificate of Service

    I hereby certify that on October 9, 2024, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants: (insert names)

Ronald Jones, II
Ron@thebrilliantbrawler.com

And counsel of record.
   I hereby certify that on October 9, 2024, I served the attached document by regular
US Mail on the following, whom is not a registered participant of the ECF System:




                                                 DARRELL L. MOORE




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